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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3085

vs.                                                 AMENDED
                                                TENTATIVE FINDINGS
WILLIAM E. SALISBURY,

                 Defendant.

      The Court has received the revised modified presentence investigation
report in this case. The defendant objects to the presentence report (filing
248).

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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      (f)   in cases where a departure using pre-Booker departure theory is
            not warranted, deviate or vary from the Guidelines when there is
            a principled reason justifying a sentence different than that
            called for by application of the advisory Guidelines, again without
            affording the Guidelines any particular or "substantial" weight.

2.    The defendant objects to the presentence report on several grounds.
      Filing 248.

      (a)   The defendant objects to the government's description of the
            offense conduct and the probation officer's calculation of the
            amount of pseudoephedrine involved in the offense. Filing 248 at
            1-3. The Court would—if necessary—resolve this objection based
            upon the evidence presented at trial and any additional evidence
            presented at sentencing. However, the Court need not resolve
            this issue now, nor is it likely to require resolution at
            sentencing—the defendant appears to agree that the base offense
            level is 19, even under the defendant's calculation of the amount
            of pseudoephedrine provided. Filing 248 at 2-4; see, U.S.S.G. §§
            2D1.11 and 2X4.1.

      (b)   The defendant contends that he is entitled to a two-point
            reduction for acceptance of responsibility. Filing 248 at 3; see
            U.S.S.G. § 3E1.1. A defendant has the burden to show that he is
            entitled to a reduction for acceptance of responsibility. United
            States v. Nguyen, 339 F.3d 688, 690 (8th Cir. 2003). The
            defendant contends that he should receive credit for accepting
            responsibility because, he asserts, he had previously offered to
            settle the case "in the same fashion" as the plea agreement
            eventually reached by the parties during trial. Filing 248 at 3.

            An adjustment for acceptance of responsibility does not apply to a
            defendant who puts the government to its burden of proof by
            denying the essential factual elements, and only then admits
            guilt and expresses remorse. § 3E1.1 cmt. n.2. But even
            conviction at trial would not automatically prevent a defendant
            from receiving a reduction for acceptance of responsibility. United
            States v. Guerrero-Cortez, 110 F.3d 647, 656 (8th Cir. 1997). A
            defendant may demonstrate acceptance of responsibility even
            though he goes to trial and is convicted, which may occur when
            he asserts and preserves issues that did not relate to factual
            guilt; in such a situation a determination that a defendant has

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            accepted responsibility will be based primarily on pre-trial
            statements and conduct. Id.

            But acceptance of responsibility still requires the Court to
            consider whether the defendant truthfully admitted the conduct
            comprising the conviction, and truthfully admitted any additional
            relevant conduct for which the defendant is accountable. The
            Court must still weigh, based on the evidence presented at trial
            and any additional evidence presented at sentencing, whether the
            defendant's alleged willingness to plead guilty to a lesser offense
            prior to trial—if proved—is sufficient to show that the defendant
            accepted responsibility for the offense conduct that the Court
            finds the evidence to have proven. And that is a matter that the
            Court will determine at sentencing.

            At least, the Court will determine that matter at sentencing as to
            the two-level adjustment provided by § 3E1.1(a). The third-level
            reduction of § 3E1.1(b) is available only if the government so
            moves. United States v. Wattree, 431 F.3d 618, 623-24 (8th Cir.
            2005). And it has not.

      (c)   The defendant also argues that he should receive a two-point
            reduction based on safety valve eligibility, pursuant to U.S.S.G.
            §§ 2D1.1(b)(17) and 5C1.2(a). Filing 248 at 3. According to the
            presentence report, the defendant falls short of safety valve
            requirements in two ways: first, he has three criminal history
            points, and second, there is no information establishing that the
            defendant has "truthfully provided to the Government all
            information and evidence the defendant has concerning" his
            offense. See § 5C1.2(a).

            And the defendant carries the burden of demonstrating that he
            has truthfully provided to the Government all information
            regarding the relevant crime before sentencing. United States v.
            Castaneda, 221 F.3d 1058, 1059 (8th Cir. 2000). Accordingly, the
            defendant's contention that he completed a safety valve proffer
            interview will be considered based on the evidence presented at
            sentencing. The defendant has separately objected to the criminal
            history calculation, and it will be discussed below.




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      (d)   The defendant argues that he was a minor participant in the
            offense and should receive a three-point reduction pursuant to
            U.S.S.G. § 3B1.2. Filing 248 at 4. To qualify for a minor
            participant adjustment under § 3B1.2(b), the defendant must be
            "less culpable than most other participants." Id., cmt. n.5. To
            qualify for a minimal participant adjustment under § 3B1.2(a),
            the defendant must be "plainly among the least culpable of those
            involved in the conduct of a group." Id., cmt. n.4. "[T]he
            defendant's lack of knowledge or understanding of the scope and
            structure of the enterprise and of the activities of others is
            indicative of a role as minimal participant." Id. Minimal
            participants are those with "insignificant" involvement in the
            criminal activity. United States v. Goodman, 509 F.3d 872, 875
            (8th Cir. 2007).

            But because the defendant pled guilty to misprision of felony in
            violation of 18 U.S.C. § 4, a mitigating role adjustment normally
            would not apply because an adjustment for reduced culpability is
            incorporated in the base offense level. See U.S.S.G. § 2X4.1 cmt.
            n.2; see also United States v. Bolden, 368 F.3d 1032, 1037 (8th
            Cir. 2004). The word "normally," however, assumes that there
            may be unusual cases in which that general rule does not apply,
            and there is at least limited authority suggesting that an
            adjustment based on reduced culpability may be available if the
            evidence establishes the defendant's mitigating role in the
            misprision offense. United States v. Godbolt, 54 F.3d 232, 234
            (5th Cir. 1995).

            But the burden of establishing a role adjustment as a minor or
            minimal participant rests with the defendant. See United States
            v. Pinkin, 675 F.3d 1088, 1090 (8th Cir. 2012). Accordingly, the
            Court will resolve this matter on the evidence presented at trial
            and any additional evidence presented at sentencing.

      (e)   Finally, the defendant has objected to the criminal history
            calculation; specifically, the assessment of three criminal history
            points for a 2006 Madison County conviction of attempted
            possession of a controlled substance (one point for the charge
            itself, and two more points for committing the instant offense
            while still on probation for the Madison County offense). Filing
            248 at 4. The defendant argues that the drugs he was convicted of
            attempting to possess in 2006 were obtained from Grady

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           Gartman and, therefore, his 2006 conduct was related to the
           present offense. Filing 248 at 4.

           The defendant's 2006 conviction would not result in criminal
           history points if that conduct was part of the instant offense. See
           U.S.S.G. § 4A1.1(a)(1). But at trial, Gartman testified that he
           first provided drugs to the defendant in 2007. Accordingly, at this
           point, the evidence is contrary to the defendant's argument.
           Nonetheless, the Court will resolve this issue at sentencing, on
           the trial evidence and any other argument or evidence presented
           at sentencing.

3.    The defendant also argues that his personal characteristics warrant a
      downward departure. Filing 248 at 4-6. But he has not filed a separate
      motion for departure. Nonetheless, the Court will consider the
      defendant's situation, and his argument, in the context of
      independently applying the § 3553(a) factors and determining what
      sentence is warranted.

4.    Except to the extent, if any, that the Court has sustained an objection,
      granted a motion, or reserved an issue for later resolution in the
      preceding paragraph, the parties are notified that the Court's tentative
      findings are that the presentence report is correct in all respects.

5.    If any party wishes to challenge these tentative findings, that party
      shall, as soon as possible (but in any event no later than three (3)
      business days before sentencing) file with the Court and serve upon
      opposing counsel an objection challenging these tentative findings,
      supported by a brief as to the law and such evidentiary materials as are
      required, giving due regard to the local rules of practice governing the
      submission of evidentiary materials. If an evidentiary hearing is
      requested, such filings should include a statement describing why a
      hearing is necessary and how long such a hearing would take.

6.    Absent timely submission of the information required by the preceding
      paragraph, the Court's tentative findings may become final and the
      presentence report may be relied upon by the Court without more.

7.    Unless otherwise ordered, any objection challenging these tentative
      findings shall be resolved at sentencing.




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      Dated this 13th day of January, 2016.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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